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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

Charlotte Loquasto, et al.                §
                                          §
                      Plaintiffs,         §     Civil Action No. 3:19-CV-01455-B
                                          §
vs.                                       §             (Consolidated with
                                          §     Civil Action No. 3:19-CV-01624-B)
Fluor Corporation, Inc., et al.           §
                                          §
                      Defendants.         §
                                          §
__________________________________________________________________________

               ALLIANCE PROJECT SERVICES, INC.’S JOINDER TO
    DEFENDANTS FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC.,
    FLUOR INTERCONTINENTAL, INC., AND FLUOR GOVERNMENT GROUP
          INTERNATIONAL, INC.’S RULE 12(B)(1) MOTION TO DISMISS
            FOR LACK OF SUBJECT MATTER JURISDICTION UNDER
        THE POLITICAL QUESTION DOCTRINE AND, ALTERNATIVELY,
              RULE 56 MOTION FOR SUMMARY JUDGMENT UNDER
           28 U.S.C. § 2680(j) (COMBATANT ACTIVITIES PREEMPTION)
__________________________________________________________________________

        Defendant Alliance Project Services, Inc. (“APS”) joins Defendants Fluor Corporation,

Inc., Fluor Enterprises, Inc., Fluor Intercontinental, Inc., and Fluor Government Group, Inc.’s

Rule 12(B)(1) Motion To Dismiss For Lack Of Subject Matter Jurisdiction Under The Political

Question Doctrine And, Alternatively, Rule 56 Motion For Summary Judgment Under 28 U.S.C.

§ 2680(J) (Combatant Activities Preemption) (“Motion”) as follows:

        1.       As alleged in their Petitions, Plaintiffs’ claims arise from a suicide bombing by

Ahmed Nayeb, an Afghan national, at the Bagram Airfield (“BAF”), which is located in Bagram,

Afghanistan that occurred on November 12, 2016. (See Loquasto Petition at pp. 2-5, 22-31)

[3:19-CV-01455-B: Dkt. No. 1-3 at pages 7-10, 27-36.] (See Branch Petition at pp. 1-3, 6-1.)

[3:19-CV-01624-B: Dkt. No. 1-3 at pages 5-7, 10-14.] Plaintiffs allege “Nayeb was an employee


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of Defendant APS and was primarily supervised and managed by the Fluor Defendants.” (See

Loquasto Petition at p. 22) [3:19-CV-01455-B: Dkt. No. 1-3 at page 27.] (See Branch Petition at

p. 7) [3:19-CV-01624-B: Dkt. No. 1-3 at page 11.]

        2.       Plaintiffs allege the same negligence claims against Defendants Fluor

Corporation, Inc., Fluor Enterprises, Inc., Fluor Intercontinental, Inc., and Fluor Government

Group, Inc. (collectively, “Fluor”) as they allege against APS. (Compare Loquasto Petition at p.

24; with Loquasto Petition at pp. 30-31) [3:19-CV-01455-B: Dkt. No. 1-3 at pages 29, 35-36.]

(Compare Branch Petition at p. 9 with Branch Petition at p. 10) [3:19-CV-01624-B: Dkt. No. 1-3

at pages 13-14.]

        3.       Citing government documents, testimony of the two persons who Plaintiffs chose

to depose as part of the jurisdictional discovery permitted by the Court, and related records,

Fluor’s Motion and supporting documents establish that the United States Military—in the

exercise and implementation of its judgment, decision-making powers, policy-making authority,

intelligence gathering, and strategies, both initially and on an ongoing basis—made

determinations with regard to force protection and security at BAF that are at the crux of

Plaintiffs’ claims and the defenses thereto asserted by Fluor and APS.

        4.       The facts, arguments, and supporting law set forth in Fluor’s Motion apply with

equal force to Plaintiffs’ claims against APS, and the Court should dismiss Plaintiffs’ claims

against APS because the claims raise non-justiciable political questions under Baker v. Carr, 369

U.S. 186 (1962) and its progeny, and because Plaintiffs’ claims are preempted under the Federal

Tort Claims Act’s combatant activities exception. See 28 U.S.C. § 2680(j).

        THEREFORE, APS respectfully joins the Flour Motion and requests that the Court

dismiss Plaintiffs’ suit against APS.


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        File Date: March 23, 2020      Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that on this 23rd day of March, 2020, a true and correct copy of the foregoing
document was served on counsel of record for the parties through the CM/ECF system in
accordance with the Federal Rules of Civil Procedure.


                                                    /s/ David Grant Crooks
                                                    David Grant Crooks




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